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                                    6   Attorneys for Defendants
                                        Los Angeles Unified School District and
                                    7   Anthony Aguilar
                                    8                          UNITED STATES DISTRICT COURT
                                    9                        CENTRAL DISTRICT OF CALIFORNIA
                                   10
                                   11   CHAYA LOFFMAN and                       Case No. 2:23-cv-01832-JLS-MRW
 444 W. OCEAN BLVD., SUITE 1070




                                        JONATHAN LOFFMAN, on their
                                   12   own behalf and on behalf of their       REPLY TO PLAINTIFFS’
     LONG BEACH, CA 90802
     DANNIS WOLIVER KELLEY




                                        minor child M.L.; FEDORA NICK           OPPOSITION TO EX PARTE
                                   13   and MORRIS TAXON, on their              APPLICATION FOR AN
                                        own behalf and on behalf of their       EXTENSION OF TIME TO
                                   14   minor child K.T.; SARAH PERETS          RESPOND TO INITIAL
                                        and ARIEL PERETS, on their own          COMPLAINT BY 20 DAYS
                                   15   behalf and on behalf of their minor
                                        child N.P.; JEAN & JERRY
                                   16   FRIEDMAN SHALHEVET HIGH                 Judge:    Hon. Josephine L. Staton
                                        SCHOOL; and SAMUEL A.
                                   17   FRYER YAVNEH HEBREW                     Complaint served: April 12, 2023
                                        ACADEMY,                                Current response date: May 3, 2023
                                   18
                                                     Plaintiffs,                New response date: May 23, 2023
                                   19
                                              v.                                Complaint Filed: March 13, 2023
                                   20
                                        CALIFORNIA DEPARTMENT OF                Trial Date: None
                                   21   EDUCATION; TONY
                                        THURMOND, in his official
                                   22   capacity as Superintendent of Public
                                        Instruction; LOS ANGELES
                                   23   UNIFIED SCHOOL DISTRICT;
                                        and ANTHONY AGUILAR, in his
                                   24   official capacity as Chief of Special
                                        Education, Equity, and Access,
                                   25
                                                     Defendants.
                                   26
                                   27
                                   28
                                                                                  1
DWK 4024087v1
                                        REPLY TO OPPOSITION TO EX PARTE APPLICATION FOR EXTENSION OF TIME TO RESPOND
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                                    1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                    2         Defendants LOS ANGELES UNIFIED SCHOOL DISTRICT and
                                    3   ANTHONY AGUILAR (“collectively LAUSD”) hereby submit this reply to
                                    4   Plaintiffs’ Opposition to LAUSD’s Ex Parte Application for an Extension of Time
                                    5   to Respond to Initial Complaint by 20 days to address Plaintiffs’ allegations related
                                    6   to waiver of service.
                                    7         Plaintiffs cannot use their own failures to properly provide notice and request
                                    8   for waiver of service from LAUSD as a basis to oppose LAUSD’s request for a 20-
                                    9   day extension for a response to the initial complaint. Rule 4(d)(1) of the Federal
                                   10   Rules of Civil Procedure requires a notice and request for waiver of service to:
                                   11                (A) be in writing and be addressed:
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                                   12                   (i)     To the individual defendant…
     LONG BEACH, CA 90802
     DANNIS WOLIVER KELLEY




                                   13                (B) name the court where the complaint was filed;
                                   14                (C) be accompanied by a copy of the complaint, 2 copies of the wavier
                                   15                   form appended to this Rule 4, and a prepaid means for returning the
                                   16                   form;
                                   17                (D) inform the defendant, using the form appended to this Rule 4, of
                                   18                   the consequences of waiving and not waiving service;
                                   19                (E) state the date when the request is sent;
                                   20                (F) give the defendant a reasonable time of at least 30 days after the
                                   21                   request was sent…to return the waiver; and
                                   22                (G) To be sent by first-class mail or other reliable means.
                                   23         LAUSD has no record of Plaintiffs providing such notice and request for
                                   24   waiver of service that complies with the requirements of Rule 4(d)(1). Declaration
                                   25   of Mary Kellogg, ¶ 4. Plaintiffs admit that they provided this type of notice and
                                   26   request to other defendants. Dkt. 23; Chen. Decl., Ex. 1. Plaintiffs did not provide
                                   27   any evidence of a similar notice and request to LAUSD and, in doing so, concede
                                   28   this failure. Instead of complying with the written request for waiver of service
                                                                                  2
DWK 4024087v1
                                        REPLY TO OPPOSITION TO EX PARTE APPLICATION FOR EXTENSION OF TIME TO RESPOND
                                  Case 2:23-cv-01832-JLS-MRW Document 24 Filed 05/05/23 Page 3 of 3 Page ID #:157




                                    1   requirements, Plaintiffs relied on oral, inconclusive statements from LAUSD staff
                                    2   concerning their respective abilities to accept service on behalf of LAUSD and
                                    3   make decisions concerning waiver of service. Dkt. 23; Chen Decl. ¶¶ 11-15. These
                                    4   communications did not comply with the Rule 4(d)(1) requirements. Thus,
                                    5   Plaintiffs cannot reasonably claim LAUSD’s failure to waive service, a problem
                                    6   Plaintiffs created, undermines LAUSD’s good cause for a 20-day extension.
                                    7         Plaintiffs also overstate the concerns with timeliness associated with
                                    8   LAUSD’s service. If Plaintiffs had properly provided LAUSD with notice of the
                                    9   request to waive service on April 3, 2023 as they did for the other defendants, the
                                   10   30 days for LAUSD to respond would not have elapsed until May 3, 2023. F.R.C.P.
                                   11   4(d)(1)(F). Plaintiffs effectuated service on the District on April 12, 2023 and
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                                   12   Anthony Aguilar on April 29, 2023, both of which fall before the waiver of service
     LONG BEACH, CA 90802
     DANNIS WOLIVER KELLEY




                                   13   deadline. Moreover, if LAUSD had been given a proper opportunity to waive
                                   14   service on or before the May 3, 2023 deadline, their response would have been due
                                   15   by June 2, 2023, which is after LAUSD’s present request for a 20-day extension to
                                   16   May 23, 2023. The other defendants will already be filing a response on or before
                                   17   June 2, 2023, so LAUSD’s 20-day extension would not impact the overall timing
                                   18   and case trajectory. In any event, LAUSD attempted to resolve the need for an
                                   19   extension with Plaintiffs prior to the ex parte application, in accordance with
                                   20   chamber rules, but Plaintiffs refused. Dkt. 20; Kinsey Decl.
                                   21         For the foregoing reasons, LAUSD respectfully requests that the Court grant
                                   22   its request for a 20-day extension of time to respond to the initial complaint.
                                   23   DATED: May 5, 2023                            DANNIS WOLIVER KELLEY
                                                                                      SUE ANN SALMON EVANS
                                   24                                                 MEAGAN M. KINSEY
                                   25
                                                                                      By: /s/ Sue Ann Salmon Evans
                                   26                                                 SUE ANN SALMON EVANS
                                                                                      Attorneys for Defendants
                                   27                                                 Los Angeles Unified School District
                                                                                      and Anthony Aguilar
                                   28
                                                                                  3
DWK 4024087v1
                                        REPLY TO OPPOSITION TO EX PARTE APPLICATION FOR EXTENSION OF TIME TO RESPOND
